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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION


5200 ENTERPRISES LIMITED,

               Appellant,

v.                                                             Case No. 3:19-cv-1045-J-39

CITY OF NEW YORK,

               Appellee.
                                          /

                           CERTIFICATION FOR DIRECT APPEAL

         THIS CAUSE is before the Court on Appellant’s Request for Direct Appeal to the

United States Court of Appeals for the Eleventh Circuit (Doc. 10) filed October 8, 2019,

and Appellee’s response in opposition (Doc. 15). For the reasons set forth in the Court’s

Order granting Appellant’s request, the Court hereby certifies the subject Order of the

bankruptcy court annexed hereto (the “Order”) involves (1) questions of law that are a

matter of public importance for which there are no controlling decisions by either the

Eleventh Circuit or the Supreme Court of the United States, as contemplated by 28

U.S.C. § 158(d)(2)(A)(i); and (2) issues for which an immediate appeal may materially

advance the progress of the adversary proceeding in which the appeal is taken, as

contemplated by 28 U.S.C. § 158(d)(2)(A)(iii). Accordingly, 28 U.S.C. § 158(d)(2)(A)

provides for the Eleventh Circuit to have appellate jurisdiction if the Eleventh Circuit

authorizes the direct appeal of the Order.
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       CERTIFIED in Jacksonville, Florida this 16th day of July, 2020.




Copies furnished to:

Counsel of Record
Clerk of Court for the Eleventh Circuit


Attached: Order from the bankruptcy court dated August 13, 2019




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